










Opinion issued May 25, 2006











In The
Court of Appeals
For The
First District of Texas




NO. 01–05–00882–CV




MATTHEW A. TALBERT, Appellant

V.

KATHERINE E. REES, Appellee




On Appeal from the 306th District Court
Galveston County, Texas
Trial Court Cause No. 2004FD0414




MEMORANDUM OPINIONAppellant Matthew A. Talbert has failed to timely file a brief.  See Tex. R. App.
P. 38.8(a) (failure of appellant to file brief).  After being notified that this appeal was
subject to dismissal, appellant did not adequately respond.  See Tex. R. App. P.
42.3(b) (allowing involuntary dismissal of case).
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;The appeal is dismissed for want of prosecution for failure to timely file a brief. 
All pending motions are denied.
PER CURIAM
Panel consists of Chief Justice Radack and Justices Taft and Nuchia.


